Case 2:19-cv-11525-BAF-DRG ECF No.1 filed 05/24/19 PagelD.1 Page 1of17

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

DARREN FINDLING, as Personal
Representative of the ESTATE OF AMY

 

 

HOWES, DECEASED, CASE NO.

Plaintiff, Removed from 44" Circuit Court of

V. Livingston County, Michigan

RIETH-RILEY CONSTRUCTION CO., Livingston County Cause No. 2019-30228-NI
INC., a foreign corporation,

Defendant.

/

Jason A. Waechter, #P47651 Jessica W. Schnelker, #31566-49-IN
Eric J. Liblang, #P27778 Eric A. Riegner, #P80346 (Eastern District of
Law Offices of Jason A. Waechter Michigan admission pending)
19080 West Ten Mile Road, 2"4 Floor Frost Brown Todd LLC
Southfield, MI 48075 201 North Illinois Street, Suite 1900
248-355-4701 P.O. Box 44961

Indianapolis, IN 46244-0961
317-237-3800

eriegner@tbtlaw.com
ischnelker@fbtlaw.com

NOTICE OF REMOVAL

Pursuant to 28 U.S.C. § 1332, 1441 and 1446, Defendant Rieth-Riley Construction Co.,
Inc. (“Rieth-Riley”), by counsel, hereby removes to this Court the above-captioned action, which
was pending against it in the Circuit Court for the County of Livingston, State of Michigan.
Removal is based on the following grounds:

1. On or about April 5, 2019, Plaintiff Darren Findling, as Personal Representative
of the Estate of Amy Howes, Deceased, commenced this civil action against Rieth-Riley in the
Circuit Court for the County of Livingston, State of Michigan, docketed as Cause No. 2019-

30228-N1 (the “Lawsuit”).
Case 2:19-cv-11525-BAF-DRG ECF No.1 filed 05/24/19 PagelD.2 Page 2 of17

2. On or about April 29, 2019, Rieth-Riley was served by certified mail in Goshen,
Indiana with a copy of the Summons and Complaint in the Lawsuit. A true and accurate copy of
the Summons and Complaint are attached hereto within Exhibit A.

3. This Notice of Removal is being filed by Rieth-Riley within thirty (30) days after
service of a copy of the Summons and Complaint and, therefore, is timely filed pursuant to 28
U.S.C. §144(b) and Murphy Bros Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344 (1999).

4. The Court has jurisdiction over this case pursuant to 28 U.S.C. § 1332 because
there is complete diversity of citizenship among Plaintiff and Rieth-Riley, and the amount in
controversy exceeds $75,000, exclusive of interest and costs.

5. Plaintiff seeks to recover unspecified damages for the wrongful death of Amy
Howes, including loss of love, society, companionship, and affection; loss of services; loss of
financial support; loss of gifts and gratuities; loss of parental training and guidance; and funeral
and burial expenses. The Complaint lists a surviving spouse, two children, a mother and father,
and three surviving siblings. (Complaint, { 17). The complaint also seeks recovery of damages
suffered by decedent before her death, including pain and suffering, fright and shock, and mental
anguish (Complaint, 18). Thus, the amount in controversy exceeds $75,000, exclusive of
interest and costs.

6. Decedent Amy Howes was a resident of Livingston County, Michigan. (See
Complaint, § 1).

7. Defendant Rieth-Riley is an Indiana corporation with its principal of business in
Indiana.

8. This Lawsuit is, therefore, a civil action over which this Court has original

jurisdiction under 28 U.S.C. §§ 1441 and 1446. Further, removal to this judicial district and
Case 2:19-cv-11525-BAF-DRG ECF No.1 filed 05/24/19 PagelD.3 Page 3 of 17

division is proper under 28 U.S.C. §§ 1441(a), as this district and division embrace Livingston
County, where the Lawsuit is pending.

9. This Notice is accompanied by copies of all process, pleadings, and orders served
upon Rieth-Riley in this action, as attached under Exhibit A hereto.

10. Promptly after it is filed within this Court, Rieth-Riley will serve this notice upon
Plaintiff and file a copy of this Notice with the Clerk of the Circuit Court for the County of
Livingston.

WHEREFORE, Defendant Rieth-Riley Construction Co., Inc. respectfully removes this

Lawsuit to this Court.

FROST BROWN TODD LLC

/s/ Jessica W. Schnelker

Jessica W. Schnelker, #31566-49-IN

Eric A. Riegner, #P80346 (Eastern District
of Michigan admission pending)

Attorneys for Defendant Rieth-Riley

Construction Co., Inc.
Case 2:19-cv-11525-BAF-DRG ECF No.1 filed 05/24/19 PagelD.4 Page 4 of 17

CERTIFICATE OF SERVICE

I hereby certify that on May 24, 2019, the foregoing document was filed electronically.
A copy was served by First-Class United States Mail, postage prepaid, upon the following
parties:

Jason A. Waechter

Eric J. Liblang

Law Offices of Jason A. Waechter
19080 West Ten Mile Road, 2" Floor
Southfield, MI 48075

/s/ Jessica W. Schnelker
Jessica W. Schnelker

FROST BROWN TODD LLC

201 North Illinois Street, Suite 1900
P.O. Box 44961

Indianapolis, IN 46244-0961

P: 317-237-3800

F: 317-237-3900

eriegner(@fbtlaw.com
jschnelker@fbtlaw.com

0121319.0664843 4836-7809-1415v1
Case 2:19-cv-11525-BAF-DRG ECF No.1 filed 05/24/19 PagelD.5 Page 5of17

EXHIBIT A
Case 2:19-cv-11525-BAF-DRG ECF No.1 filed 05/24/19 PagelD.6 Page 6 of 17

@ct Corporation

FOR:

Rob Konopinski, Secretary/General Counsel
Rieth-Riley Construction Co., Inc.

3626 Elkhart Rd Dept Legal

Goshen, IN 46526-5815

Process Served In Michigan

RIETH-RILEY CONSTRUCTION CO., INC. (Domestic State: IN) -

Service of Process

‘Transmittal

04/29/2019
CT Log Number 535390327

ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:

DOCUMENT(S) SERVED:

COURTI/AGENCY:

NATURE OF ACTION:
ON WHOM PROCESS WAS SERVED:

BATE. AND HOUR OF SERVICE:

Darren Findling, as Personal Representative of the Estate of Amy Howes, Deceaséd,

Pitf. vs. Rieth-Riley Construction Co., Inc., Dft.

JURISDICTION SERVED: Michigan

APPEARANCE OR ANSWER DUE:

ATTORNEY(S} / SENDER(S):

ACTION ITEMS:

SIGNED: The 5 rRoration Compan

ADDRESS: 40600 ANN ARBOR RD
Plymouth, Ml 48170-4675

TELEPHONE: 213-337-4615

248-355-4701

05/05/2019
Image SOP

Summons, Proof, Complaint, Attachments

Livingston County - 44th Circuit Court, Ml
Case # 201930228NI ,

Wrongful Death - Vehicle Collision -.On or about 08/01/2018
The Corporation Company, Plymouth, MI
By Certified Mail on 04/29/2019 postmarked on 04/25/2019

Within 28 after receiving this summons and a copy of the complaint

Jason A. Waechter

Law Offices of Jason A. Waechter
19080 W. Ten Mile Road
Southfield, MI 48075

CT has retained the current log, Retain Date: 04/30/2019, Expected Purge Date:

Email Notification, Rob Konopinski rkonopinski@rieth-riley.com
Email Notification, Paula Frizsell pkfrizsell@rieth-riley.com
Email Notification, Christina Bonham cbonham@rieth-riley.com

Page 1 of 1/ FA

information displayed on thts transmittal is for CT
Corporation's record keeping purposés only and ts provided to
the recipient for quick reference. This information.does not
constitute a legal opinion as to the nature of action,.the
amount of damages, the answer date, or any information
contained in the documents themselves, Recipient Is
responsible for interpreting said documents and for taking
appropriate action. Signatures on certified mail receipts
confirm receipt of package only, not contents.
Case 2:19-cv-11525-BAF-DRG ECF No.1 filed 05/24/19 PagelD.7 Page 7 of 17

 

 

 

 

 

 

Original - Court 2nd copy - Plaintiff
Approved, SCAO 1st copy - Defendant . 3rd copy - Return
STATE OF MICHIGAN CASE NO.
JUDICIAL DISTRICT
44th [Livingston] JUDICIAL CIRCUIT SUMMONS 2019- So2- NI
COUNTY PROBATE
Court address Court telephone no.
Plaintiff's name(s), address(es), and telephone no(s). Defendant's name(s), address(es), and telephone no(s).
Darren Findling, as Personal Representative of the Rieth-Riley Construction Co., Inc.
Estate of Amy Howes, Deceased c/o The Corporation Company ;
c/o Law Offices of Jason A. Waechter v 40600 An Arbor Rd. E, Ste 201

Plymouth, MI 48170

 

Plaintiffs attorney, bar no., address, and telephone no.

Law Offices of Jason A. Waechter PH: 248-355-4701 IS
JASON A. WAECHTER (P47651) Fax: 248-281-0006 J U [D) G [E G [E ID [D u
ERIC J. LIBLANG (P27778) P-35307

19080 W. Ten Mile Rd.,

Southfield, MI 48075

 

 

 

 

 

 

Instructions: Check the items below that apply to you and provide any required information. Submit this form to the court clerk

along with your complaint and, if necessary, a case inventory addendum (form MC 21). The summons section will be completed
by the court clerk.

Domestic Relations Case

C1) There are no pending or resolved cases within the jurisdiction of the family division of the circuit court involving the family or
family members of the person(s) who are the subject of the complaint.

(] There is one or more pending or resolved cases within the jurisdiction of the family division of the circuit court involving

the family or family members of the person(s) who are the subject of the complaint. Attached is a completed case inventory
(form MC 21) listing those cases.

Ci It is unknown if there are pending or resolved cases within the jurisdiction of the family division of the circuit court involving
the family or family members of the person(s) who are the subject of the complaint.

Civil Case

(J This is a business case in which all or part of the action includes a business or commercial dispute under MCL 600.8035.
There is no other pending or resolved civil action arising out of the same transaction or occurrence as alleged in the
complaint.

CA civil action between these parties or other parties arising out of the transaction or occurrence alleged in the complaint has
been previously filed in (Clthis cour, O Court, where

it was given case number and assigned to Judge

 

 

The action Clremains Clis no longer pending.

Summons section completed by court clerk.

NOTICE TO THE DEFENDANT: !n the name of the people of the State of Michigan you are notified:
1. You are being sued.
2. YOU HAVE 21 DAYS after receiving this summons and a copy of the complaint to file a written answer with the court and

Serve a Copy on the other party or take other lawful action with the court (28 days if you were served by mail or you were
served outside this state).

3. If you do not answer or take other action within the time allowed, judgment may be entered against you for the relief
demanded in the complaint. :

4. If you require special accommodations to use the court because of a disability or if you require a foreign language interpreter
to help you fully participate in court proceedings, please contact the court immediately to make arrangements.
f Expinaiioy dat | ea aah SLIZABETH HUNDLEY
issue } Bs e* JV ‘ourt cler! CLERK OF THE CR —
"U1 2-1(4 (2-1 (9 a HE OIRCUIT Cour

*This summons is invalid unless served on or before its expiration date. This document must be sealed by the seal of the .

 

 

 

 

 

 

MC 01 (8/18) SUMMONS MCR 1.109(D), MCR 2.102(B), MCR 2.104, MCR 2.105
Case 2:19-cv-11525-BAF-DRG ECF No.1 filed 05/24/19 PagelD.8 Page 8 of 17

 

SUMMONS

[PROOF OF SERVICE Case No. 2019- “NI

TO PROCESS SERVER: You are to serve the summons and complaint not later than 91 days from the date of filing or the date
of expiration on the order for second summons. You must make and file your return with the court clerk. If you are unable to
complete service you must return this original and all copies to the court clerk.

 

 

 

 

[CERTIFICATE / AFFIDAVIT OF SERVICE / NONSERVICE |

 

L} OFFICER CERTIFICATE — OR C} AFFIDAVIT OF PROCESS SERVER
| certify that | am a sheriff, deputy sheriff, bailiff, appointed Being first duly sworn, | state that | am a legally competen
court officer, or attorney for a party (MCR 2.104{A][2)), adult who is not a party or an officer of a corporate party,
and that: (notarization not required) and that: (notarization required)

 

 

(_]1 served personally a copy of the summons and complaint. :
C1 served by registered or certified mail (copy of return receipt attached) a copy of the summons and complaint,
together with

 

List all documents served with the summons and complaint
+

on the defendant(s):

 

 

Defendant's name . Complete address(es) of service . Day, date, time
Rieth-Riley Construction Co., Inc.

 

 

 

 

 

 

C} have Personally attempted to serve the summons and complaint, together with any attachments, on the following defendant(s)
and have been unable to complete service.
Defendant's name Complete address(es) of service ‘ Day, date, time

 

 

 

 

 

 

 

 

| declare under the penalties of Perjury that this proof of service has been examined by me and that its contents are.tme.to.the
~~ “~best of my information, Knowledge, and belief. ,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Service fee Miles traveled Fee Signature
$ |s
Incorrect address fee | Miles traveled Fee TOTAL FEE Name (type or print)
$ [s $
‘Title
Subscribed and sworn to before me on Bat ' County, Michigan.
ale
My commission expires: Signature:
Date Deputy court clerk/Notary public

Notary public, State of Michigan, County of

 

 

| ACKNOWLEDGMENT OF SERVICE |
| acknowledge that | have received service of the summons and complaint, together with

 

Attachments

, on
cyte ewe ten, Day,.date, time

on behalf of

 

 

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TELEPHONE 248.355.4701

 

 

 

 

Case 2:19-cv-11525-BAF-DRG ECF No.1 filed 05/24/19 PagelD.9 Page 9 of17

STATE OF MICHIGAN
IN THE CIRCUIT COURT FOR THE COUNTY OF LIVINGSTON

DARREN FINDLING, as Personal Representative
Of the ESTATE OF AMY HOWES, DECEASED,

Plaintiff,

v. Case No: 2019- 3099% NI

Hon.
RIETH-RILEY CONSTRUCTION CO., INC.,
A foreign corporation,

Defendant. . JUDGE GEDDIS

 

/ P-35307
Law Offices of Jason A. Waechter
JASON A. WAECHTER (P47651)
ERIC J. LIBLANG (P27778)
Attorneys for Plaintiff
19080 W. Ten Mile Road TRUE COPY
Southfield, MI 48075 .,
(248) 355-4701 / Fax: 248-281-0006 44TH Circuit Courfh-
jason@!awyerforlife.com; 1+

j County Clerk's Office

 

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There .is no other civil action arising out of the same
transaction or occurrence as alleged in this Complaint nor’
has any such action been commenced and dismissed.:
after having been assigned-to a judge.

 

 

 

 

COMPLAINT
NOW COMES the Plaintiff, DARREN FINDLING, as Personal Representative of the
ESTATE OF AMY HOWES, DECEASED, by and through his attorneys, Law Offices of Jason A.
Waechter,-and_for-their-Complaint,-state_as_follows:
GENERAL ALLEGATIONS
1. That Plaintiff Darren Findling, is the duly appointed Personal representative of the

Estate of Decedent, Amy Howes, who was a resident of the Township of Hartland, County of

   
 

Livingston, StatesofiMiekigamsfor the purpose of pursing this claim on behalf of the Estate under
the Wrongful Death Act, MCL 600.2922 and MCL 600.2921.

2. That the Defendant, RIETH-RILEY CONSTRUCTION CO., INC., is a foreign

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corporation, having its principal place of business in fadiawafand at all times herein,
doing business as a general contractor in the County of Livingston, State of Michigan.

3. Upon information and belief, Defendant, RIETH-RILEY CONSTRUCTION CO.,
INC., had entered into a contract with Michigan Department of Transportation to perform work on
or about August 1, 2018, on the acceleration ramp from M-59 (Highland Road) onto westbound |I-
96, located within the City of Howell, County of Livingston, State of Michigan.

4. That the amount in controversy exceeds $25,000.00, exclusive of interest and costs,
and is otherwise within the jurisdiction of this Honorable Court.

| NEGLIGENCE

5. | On or about August 1, 2018, Defendant, by its agents, servants and/or employees,
were in the process of performing work for improvements and maintenance to the acceleration
ramp from M-59 onto eastbound I-96, in Livingston County, State of Michigan.

6. On or about August 1, 2018, prior to 3:30 p.m., during the course of improvements
and/or maintenance to the acceleration ramp, Defendants, by their agents, servants and/or
employees, in the process of laying new asphalt, created a large lip (significant edge drop-off)
between the old pavement of the acceleration ramp and the new asphait onto the freeway, thereby
leaving the entrance in a hazardous and unsafe state of disrepair while it remained open to public

use.

Z. During the course of said construction and maintenance of the acceleration ramp to

 

I-96 from M-59.on August 1, 2018, Defendants, by their agents, servants and/or employees,
allowed the entrance to remain open to public access and travel and did not close the acceleration
ramp during course of constructions and maintenance.

8. On August 1, 2018, prior to 3:30 p.m., Defendants, by their agents, servants and/or
employees, failed to place proper signage warning of the dangerous condition created by the rise

in the asphalt from the acceleration lane to the freeway.

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9. On August 1, 2018, at approximately 3:30 p.m., Decedent Amy Howes was a
D passenger on her husband's, Bryan Howes, motorcycle, a 1994 Honda GL1500 (Goldwing), which
is a touring type motorcycle.

10. On said date, Decedent and her husband were travelling on their motorcycle along
) the acceleration ramp from M-59 onto eastbound I-96, when Decedent's husband hit the uneven |
asphalt where the acceleration lane and right-hand lane of the freeway come together, causing
Decedent's husband to lose control of the motorcycle and crash.

11. That as a result of said crash, Decedent and her husband were both ejected from
the motorcycle and Plaintiffs Decedent did suffer mortal injuries, pain and suffering, fear and
shock and other recoverable damages, resulting in wrongful death.

12. On August 1, 2018, Defendants, by their agents, servants and/or employees, knew

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or should have known that the rise in the uneven pavement (edge drop-off) and the lack of warning
was likely to cause harm to the traveling public, and, in fact, did cause harm to Plaintiff's Decedent.

13. At all times herein, Defendant owed a Statutory duty, through its contract with

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MDOT, to the public and to Plaintiff's Decedent in particular, to repair and maintain roadways in

a condition of reasonable repair, reasonably safe, and convenient for public travel.

 

14. Defendant, by its agents, servants and/or employees, was negligent and breached

its duty to maintain the acceleration ramp from M-59 onto eastbound I-96, violated its duties and

 

was further negligent in the following manner.

(a) That on or about August 1, 2018, said construction site of
Defendant Reith-Riley Construction Co. was improperly marked
with incorrectly/improperly placed Signage to warn the public of the
road edge drop-off, resulting in confusion and hazardous driving
conditions for persons driving through said construction site;

(b) That Defendant failed to take any measures to remedy the
Situation, thereby causing and/or contributing to the aforementioned
fatal motorcycle crash;

(c) That at the time, place and location mentioned, it was the duty of
the Defendant to exercise reasonable care and caution in the

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maintenance and management of said construction site, and to
keep the same in a reasonably safe condition for the Decedent,
Amy Howes, and other persons lawfully passing through said
construction site, upon the roadways, in accordance with the laws
of the State of Michigan, the Rules of Michigan Common Law and
the Statutes of the City of Howell, Michigan.

That the Defendant, through its employees, agents and servants,
knew or should have known of the dangerous condition then and
there existing in and about the construction site;

That Defendant knew or should have known that the dangerous
condition which existed on or about the construction site would
Cause injury to Decedent and other persons lawfully upon said
open roadway;

That Defendant negligently and carelessly failed to, or failed to
properly, erect and maintain signs, barricades or other warming
devices within its construction site to protect the Decedent and
others from the dangerous condition;

That Defendant violated City Ordinances or other laws including,
but not limited to, keeping said construction zone in a reasonable
repair, fixing defects and warning of defects and hazards;

That due to the improperly/incorrectly placed and/or missing
signage at the construction site, this condition amounted to a
Special aspect giving rise to a uniquely high likelihood of harm;

In the course of maintaining or attempting to improve the roadway,
Defendant negligently allowed the roadway to become defective
and/or hazardous;

During the course of maintaining the roadway, left or allowed an
unreasonable and substandard condition of the roadway in a manner
that was likely to cause harm to the traveling public and, in fact, did
cause harm to Decedent in particular,

 

 

(k)

(I)

(m)

 

 

Defendant failed to erect barriers that would have closed the
acceleration ramp from M-59 onto eastbound I-96 to the traveling
public during the course of construction and maintenance, when it
knew or should have known that said failure was likely to cause harm
to the traveling public and, in fact, did cause harm to Decedent;

While retaining control over the construction work, was negligent in its
inspection and job supervision;

It breached its duty to act with reasonable care in failing to follow the
applicable policies, procedures, and guidelines set forth.in The
Michigan Department of Construction Manual and the 2012 Standard

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‘Specifications for Construction, and other ordinances, statutes,

policies, and standards set forth in applicable road construction
regulations and manuals;

Defendant failed to use best practices for alleged hazard(s) and
specifically related to road edge drop-off:

Defendant was negligent in using inadequate equipment;

- Defendant failed to provide adequate supervision and job inspection;

Defendant was negligent in failing to properly plan and sequence the
work;

Defendant was negligent in failing to provide a sufficient workforce for
the work undertaken;

Defendant was negligent in hiring subcontractors, that were not
competent to properly perform the work for which they were
subcontracted;

Allowing a significant roadway edge drop-off to then and there
existing;

Creating a significant roadway edge drop-off.

Creating a roadway drop-off edge of 90 degrees;

Failing to put in or apply an apron, ramping, or graduated surface or
any reduced degree of edge drop-off at the subject hazard that was a -

cause of the crash;

As well as other negligent acts and/or omissions.

15. As a direct and proximate result of Defendant's negligent acts and/or omissions on

or about August 1, 2018, alleged above, by and through their agents, servants and/or employees,

 

 

 

in this lawsuit.

 

 

Decedent's husband lost control of his motorcycle during the course of construction and
maintenance, resulting in Decedent being ejected from the motorcycle and causing death.

16. Asa direct and proximate result of Defendant's negligence and the resulting fatal
injuries suffered by Decedent, Decedent's Estate or family members have expended sums of

money for funeral and burial expenses. Funeral and burial expenses are Claimed as damages

 
 

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17. That as a result of the negligence of the Defendant and/or its agents, servants and
employees, which proximately caused the Decedent’s death, the Decedent’s Surviving next-of- |
kin, including but not limited to the Decedent's husband, Bryan Howes, the Decédent’s natural
children, Timothy Howes and Hailey Howes, mother, Donna Abraham, father, Charlie
Siekierzynski, the Decedent’s siblings, Steven Siekierzynski, Connie Carrol and Michael
Siekierzynski, are entitled to all applicable wrongful death damages they have suffered and will in
the future suffer, including, but not limited to, deprivation of Deceased’s:

(a) Love, society, companionship and affection;
(b) Services;
(c) Financial support;
(d) Gifts or other valuable gratuities,
(e) Parental training and guidance
18. Asa direct and proximate result of the negligence of Defendant and/or its agents,
servants and employees, Plaintiff prays, claims and is entitled to: |
(a) Pain and suffering;
(b) Fright and shock
(c) Mental anguish suffered by decedent.
WHEREFORE, Plaintiff's Estate prays for Judgment in her favor, against Defendant, in an

amount determined by the trier of fact to fairly, adequately and full

 

 

 

  

 

BY: Is A. WARCHTER (P47651)
. I¢/J. LIBLANG (P27778)
Attormeys/for Plainti

190 . Ten Mil Rd, 2" Floor
Southfield, MI 48075

(248) 355-4701 /|Fax: 248-281-0006

DATED: April 5, 2019

 

 

-6-
Case 2:19-cv-11525-BAF-DRG ECF No.1 filed 05/24/19 PagelD.15 Page 15 of 17

STATEOFMICHIGAN o
IN THE 447# CIRCUIT COURT FOR THE COUNTY OF ‘LIVINGSTON
CIVuL SCHEDULING & TRIAL ORDER
JUDGE L. SUZANNE GEDDIS

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” Case No. [F-B0I25 M1
Kieth leu Constructo Ce.

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e
Defendant.

PLEASE TAKE NOTICE OF THE FOLLOWING REQUIREMENTS OF THE COURT:

Attomeys and parties SHALL ATTEND ALL SCHEDULED COURT DATES.
Stars Conference:

“October _| 2io 3.00pm

Discovery Terminates:

vf February 7, 2020

Case Evaluation: v February 26, 2020

Note: The time for case evaldation will be set by the ADR

clerk. Yau will receive a separate notice from the ADR clerk
with exact time of scheduled case evaluation, The parties

sgy stipulate to a "Special Panel” MCR 2-404 C(3) by

Onder submitted to the Court prisr to the close of discnvery.
Final Preteial: ¥ __Apxil 10, 2020 @8:30 am
Bench/Jury Trial: April 13, 202

230 am.
You will receive no other notices of scheduled dates.

PLAINTIFF/THIRD PARTY PLAINTIFF SHALL SERVE A
Defendant/Third Pasty Defendant in the

COPY OF THIS ORDER upon each
case in the same manner as,
of the Summons and Complaint/Thied Party

and at the same time as, the service
Complaint. Proof of Service shall be filed with the Clerk of

the Court. All persons receiving this notice sh

a copy of this order.

all immediately notify all other parties that they have received

 

 

 

 

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ATTORNEYS AND/OR PRO PER PARTIES SHALL ATTEND ALL DATES scheduled by this’
Court. Furthermore, all patties and the trial attomeys must attend the final pretrial and trial unless they are excused by
‘the Court in advance. The attorney attending the final pretrial must be the trial attorncy unless the Court has excused
the rial attorney’s absence in advance. Additionally, representatives of insurance carriers involved in the case shall
attend the Gnal pretrial and trial. ‘The insurance company representative attending the final pretrial must have authority
to settle the case. FAILURE TO APPEAR AT ANY COURT SCHEDULED DATE MAY RESULT IN
SANCTIONS ALLOWED UNDER THE COURT RULES, INCLUDING DEFAULT OR DISMISSAL.

STATUS CONFERENCE: THE FOLLOWING DOCUMENTS ARE DUE NO LATER THAN THLE
SCHEDULFD STATUS CONFERENCE. Only attorneys and parties proceeding in pro per are required to attend
the status conference. The forms referenced below may be obtained from the county websice at
hitp s://www.livgov.com /courts/circnit/clerk/ Pages/forms.aspx. For those without internet access, the forms
may also be obtained by calling che Court at (317) 548-1120.

® Order for Mediation: Mediation under MCR 2.411 is ordered for all civil cases. The parties shal]
confer prior co the status conference as to the selection of a mediator. In absence of agreement,
a mediator will be selected by the Court pursuant to MCR 2.41/(B)(3). Mediation must be
completed prior to case evaluation. Failure to complete mediation snay result in sanctions allowed
under the court cules.

¢ Wimess Lists, Exhibit List and Pretrial Statements: on forms similar to those provided on the
county website. (Original and Judge's Copy shall be provided.)

¢ Stipulation that no other parties are to be added.

Attendance may be waived if ALL of the above documents are filed by ALL parties with the Clerk of the
Court 10 dz jor to the schedu t ference date. It is the party's responsibility to confer with the Court
to ensure attendance requirement has been waived.

MOTIONS: All motions shall be scheduled for a regular motion day. An original and Judge’s Copy ate
required for all motions. All motions, including motions in limine, shall be filed and argued no later than 30 days before
the scheduled trial date, unless for good cause shown to the satisfaction of the Court.

Praecipes are required to file a motion before the Court. Appropriate forms are available at the coun ty website.
Please read the Praecipe carefully for instructions and follow the appropciate Court Rules for filing motions.

Adjournment of all matters shall comply wich MCR 2.503. Motions for adjournment must be requested
through the Judge's office with opposing party knowledge. Only the moving party shail request the adjournment. A
te-notice of hearing and a re-praecipe ace required for motions.

Motions to add parties must be filed and argued no later than 180 days after service of this order; delay of trial
will be a factor when considering if such a motion should be granted.

  

Alldispositive motions must be filed and argued before case evaluation. Each motion, brief, and any response _
to such motion shall be sulsmirted im Word format ONLY and cmailed to ludee(s dis Motions@livgov.com at the
same time thar the original and Judge’s Copy are submitted to the Clerk of the Court. Exhibits for summary disposition
motions must be included in digital submissions, Exhibits should be in -pdf oc jpg format. Electronic submission of
a proposed judgment supported by findings of fact in the party’s favor is required with each summary disposition motion
and/or response.

TRIAL EXHIBITS: Each party shall exchange all proposed exhibits wich all other pacties no larer than 10
days before trial, Each party shall provide a bench copy of all proposed exhibits with index to the Judge’s Chambers
on the Monday before the final pretrial. ‘The parties shall confer on the admissibility of each exhibit before the final

pretcial. Each exhibit muse be marked at the final preteal. If an exhibit coniains multiple pages, each individual page

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must be identified and marked (e.g. Exhibit A, page 1-100 or Exhibit 1, page 1-500). An index on a form similar ro
that conrained on the above website, together with an indexed final bench copy of the exhibits shall be left with the
Judge’s Chambers at the time of the final pretrial conference. Ifan exhibit cannot be conveniently copied, it should
still be included on the index. Plaintiffs exhibits are to be identified with numbers and Defendant’s exhibits
with letters. Disputed exhibits shall be culed upon at final pretrial. No turther exhibits shall be admitted at trial,

- except for good cause shown. Lach party’s exhibit package shall include an original (for witness), a bench copy (for
Judge), a copy for opposing party(ies), and a copy for each juror,

VOIR DIRE requests shall be submitted in writing and by Word format before the close of the final pretrial
conference. The Court will conduct the jury voir dire.

PROPOSED JURY INSTRUCTIONS: Preliminary and final jury instructions and a proposed verdict form

shalj be submitted to the Judge’s Chambers no later than the day before the final pretrial in hard copy and in Word

~ format ONLY (pdf format is not acceptable). Preliminary mstructions shall begin with Chapter 2 standard instructions.

An original, bench copy, and copy for each juror shall be provided. The Court allows the taking of notes, but nor
questions by jurors.

Instructions shall be full text, double spaced, one sided, one instruction per page, wich no firm names or case
capuon. Each instruction shall be complete for the specific case and ready for presentation to the jury in compliance
with MCR 2.512(A), MCR2.513(A), and MCR 2.513(N)(3). Attorneys shall confee 10 days before tial in an attempt

to agree on one set of standard insteuctions. Disputed instructions shall be noted as such, Additional instructions may
be submitted if factual development requires the same.

IN NON-JURY CASES: The patties shall subir to the Judge’s Chambers the day before the final pretrial
the following, in both bard copy and in Word forinat ONLY: 1) proposed statement of facts to be used by the Court
in deciding factual disputes, with reference to the wimess from whom the testimony will come; 2) a proposed final

order.

COURTROOM TECHNOLOGY: All courtroom technology to be used for trial, including party-supplied
technology, shall be fieid tested in the courtroom no later than rhe date of the final Pretrial. Artangements for testing
shall be made with the Judge’s staff prior to the date of the final pretrial. See MRE 403 (“Although relevant, evidence
may be excluded if its probative value is substantially outweighed by . .. considerations of undue delay, waste
of time, or needless presentation of cumulative evidence.”)

OPENING STATEMENTS AND CLOSING ARGUMENTS: Unless otherwise ordered by the Courr,
cach party’s opening statement will be limited to 30 minutes. If Parties’ interests are essentially identical, they will have
a total of 30 minutes for an opening statement. Unless otherwise ordered by the Court, closing arguments for each
patty shall aot exceed 45 minutes. Parties whose interests are essentially identical will have a toral of 45 minutes. The
Plaindiff may have an additional 10 miautes for any rebuttal.

win Ald

Date Hon. L. Suzanne Geddis (P35307)
Circuit Court Judge

‘Got copy of this Scheduling Order was vided £6 the Plainuft/Third Party Planuff on
f io 20/9 by Mii) Personally O Attorney Mailbox or © Other.

[p

Livingston Couny Cleck / Assignment Clerk

 

 

 

 

 

 

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